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AO 240 (Rev.07/10)ApplicationtoProceedinDistrictCourtWithoutPrepayi
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                                  U NITED STATES D ISTRICT C OURT
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                      Plaint#/petitioner                           )
                              vw -                                 ) CivilActionNo.
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                       ,            )-
        APPLICATIO N TO PRO CEED IN DISTRICT COURT W ITHOUT PREPAYING FEES OR COSTS
                                                            (ShortForm)
         lnm aplaintifforyetitionerinthiscaseanddeclarethatInm tmabletopaythecostsoftheseproceedingsand
thatIam entitledtotherellefrequested.

         Insupportofthisapplication,lanswerthefollowingquestionsunderpenaltyofperjury:

          1.Ifincarcerated.lnm beingheldat:                                                                   .
 Ifemployed there,orhavean accountin the institution,Ihaveattache to thisdocumenta statem entcertified by the
 appropriateinstimtionaloftk ershowing allreceipts,expenditures,and balancesduringthelastsix monthsforany
 institutionalaccountin my nnme.1am also subm itting asimilarstatementfrom any otherinstitution where lwas
 incarcerateddlzring thelastsix m onths.

          2.Ifnotincarcerated.lfInm employed,myemployer'snameandaddressare:



 M y grosspay orwagesare:         $ +/*     #
                                                           ,andmytake-homepayorwagesare:s + /A
                                                                                             #'
                                                                                                            per
  (spect
       fypayperiod)                                   .
          3.Otherlncome.ln thepast12 m onths,1have received income from thefollowing somces(checkallthatapplyll

        (a)Business,profession,orotherself-employment       # ves               O No
        (b)Rentpayments,interest,ordividends                # Yes               O No
        (c)Pension,nnnuity,orlifeinsurancepayments          O Y es              N o
        (d)Disability,orworker'scompensationpayments        D Y es              y No
        (e)GiRs,orinheritances                              O  Yes             +  No
                                                                                O No
        (9 Any othersources                                 K Yes
          lfyouanswered ''FeJ''to anyquestionabove,describebelow oronseparatepageseachsourceofmoneyand
 statetheamountthatyoureceivedand whatyouexpecttoreceiveinthefuture.
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    A0240 (Rev.07/10)ApplicationtoProceedinDistrictCourtW i
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              4.Amountofm oney thatlhave in cash orin a checking orsavingsaccount:

              5.Anyautomobile,realestate,stock,bond,security,trust,jewelry,artwork,orotherfinancialinstnzmentor
    thing ofvalue thatIown,including any item ofvalue held in someone else'snam e(describethepropertyanditsapproximate
    valuel:



                                             5.. #V ,,#,.,,w*
           6.Any housing,transportation,utilities,orloan payments,orotherregularmonthly expenses(describeandprovide
    theamountofthemonthlyexpensel-
                                 .



                                       3ee V /-/no/wnœ>*
              1.Names(or,ifunder18,initialsonly)ofa11personswhoaredependentonmeforsupport,my relationship
     with each person,and how much lcontributeto theirsupport:




                                                     yk/4
               8. Any debtsortinancialobligations(describetheamountsowedandtowhom theyarepayablel'
                                                                                                 .



                                                 fe e A //S CZ ,,VemA

               Declaration.
                          .Ideclareunderpenaltyofperjurythattheaboveinformation istl'ueandunderstandthatafalse
     statem entmay resultin a dismissalofmy claims.
                                                                                                              g    *


     Date: V                           o /;  .
                                                                                                 Applicant'ssi
                                                                                                             gn re

                                                                                    d' & ? g              e        -#   w
                                                                                                    Printed name
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                                 FinancialA ffidavit
                                              lncom e

Pastyear1receive$1,500.00Giftandoddjobs.
Receive$20.00 am onth forboattrailerstorage.
                                 FederalCollegeGrantsand Loans

Fallsem ester1received $6,457.00 on 9/17/2012
SummerSem esterlreceived $801.00 on 7/11/2012
                                             A sset
 H om estead Property in foreclosure in this case thatstate courtgave Zelm erLife Estate only.

                                              D ebts
 SocialSecurity Disability overpaym entwhen Zelm erAshley appealsweredenied.Zelm er
 Ashley isBipolarwith severDepression with Vocalcord deduction from chemicalexposerwhile
 w orking in theboatindustry. Overpaym entof$18,000.00
 AttorneyBnzceKravitreceivejudgment$25.000.00plus10percentinterestforScrubPalm
 FloridaPower& LightCutDown in thePowerLinesm iddleofditch in LoxahatcheeFL.that
 drain theback tiveacre.W elostourproperty in LoxahatcheeFlorida overthelaw suitplus
 judgment.
 SeacoastUtility Authority $3,325.00,Zelm erAshley owed $100.00dollars,Zelm erAshley
 waterbeen ttll.
               n offforsix years.Zelm erAshley pay hiswaterbilland tul'
                                                                      n on thewaterSeacoast
 UtilityAuthority W anted fullam ountsum of$3,325.00.


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